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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

XPRT VENTURES, LLC,                                )
                                                   )
                          Plaintiff,               )
                                                   )
               v.                                  )   C.A. No. 10-595 (SLR)
                                                   )
EBAY INC., PAYPAL, INC., BILL ME                   )
LATER, INC., SHOPPING.COM, INC. and                )
STUBHUB, INC.,                                     )
                                                   )
                          Defendants.              )

                      JOINT MOTION FOR ENTRY OF AN ORDER
                    REFLECTING THE STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a), plaintiff XPRT Ventures, LLC and defendants eBay

Inc., PayPal, Inc., Bill Me Later, Inc., Shopping.com, Inc. and StubHub, Inc., parties to this legal

action, by and through their attorneys, hereby jointly move for an order approving their

stipulation as follows:

       1.      All claims are dismissed with prejudice.

       2.      All counterclaims are dismissed without prejudice.

       3.      Each party is to bear its own costs and attorneys’ fees with respect to this legal

action and the entry of this Stipulation and Order of Dismissal.

       4.      The Court may enter an Order adopting this Stipulation of Dismissal and

Proposed Order Thereon as the Order of the Court.

October 12, 2018
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HEYMAN ENERIO GATTUSO & HIRZEL LLP        MORRIS, NICHOLS, ARSHT & TUNNELL LLP

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October 12, 2018




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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

XPRT VENTURES, LLC,                                )
                                                   )
                        Plaintiff,                 )
                                                   )
                 v.                                )   C.A. No. 10-595 (SLR)
                                                   )
EBAY INC., PAYPAL, INC., BILL ME                   )
LATER, INC., SHOPPING.COM, INC. and                )
STUBHUB, INC.,                                     )
                                                   )
                        Defendants.                )


                             [PROPOSED] ORDER OF DISMISSAL

      Pursuant to Fed. R. Civ. P. 41(a), plaintiff XPRT Ventures, LLC and defendants eBay Inc.,

PayPal, Inc., Bill Me Later, Inc., Shopping.com, Inc. and StubHub, Inc., parties to this legal

action, by and through their attorneys, jointly moved for an order approving their stipulation.

After consideration of such motion, it is hereby GRANTED, and it is ORDERED that:

       1.        All claims against defendants eBay Inc., PayPal, Inc., Bill Me Later, Inc.,

Shopping.com, Inc. and StubHub, Inc. are dismissed with prejudice; and

       2.        All counterclaims against plaintiff XPRT Ventures, LLC. are dismissed without

prejudice; and

       3.        Each party is to bear its own costs and attorneys’ fees with respect to this legal

action and the entry of this Stipulation and Order of Dismissal.



       SO ORDERED this ____ day of October, 2018.



                                                       _________________________________
                                                       United States District Judge
